       Case 1:22-cv-07572-AMD-PK Document 28 Filed 01/17/24 Page 1 of 1 PageID #: 94

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       January 17, 2024

       VIA ECF

       Honorable PeggyKuo
       United States Magistrate Judge
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

                         Re:   Buscaino v. Dircksen & Talleyrand, Inc. d/b/a/ River Café and Ariel
                               Echevarria (22 cv 7572)(AMD)(PK)


       Dear Judge Kuo:

               This firm represents Plaintiff Danielle Buscaino in the above-referenced matter. Pursuant
       to your Honor’s Individual Practice Rules, we write to request an adjournment of the Settlement
       Conference currently scheduled for January 24, 2024. Defendants consent to this adjournment, and
       the Parties have identified the following proposed dates for the Settlement Conference: February
       8, 2024; February 20, 2024; February 21, 2024; March 7, 2024; or March 11, 2024.

                Plaintiff’s counsel has already submitted a position statement in preparation for the
       Settlement Conference but is now unexpectedly unable to attend on January 24, 2024. This is the
       first request for an extension of the Settlement Conference.

              Thank you for the Court’s consideration of this request.


                                                    Respectfully Submitted,


                                                    /s/ Leah Seliger
                                                    Leah Seliger
